Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 1 of 32 PageID #:
                                 13506



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION


  ANTOINE RICHARD, DARRELL
  RICHARD, CHRIS MECHE, DERBY
  DOUCET, SR., KEVIN RABEAUX, and
  MARK LOUVIERE, individually and on
  behalf of all similarly situated individuals,
                                                      CIVIL ACTION NO. 15-cv-2557
        Plaintiffs,
                                                      DISTRICT JUDGE S. MAURICE
  VERSUS                                              HICKS

  FLOWERS FOODS, INC.; FLOWERS                        MAGISTRATE JUDGE CAROL
  BAKING COMPANY OF LAFAYETTE,                        B. WHITEHURST
  LLC; FLOWERS BAKING COMPANY OF
  BATON ROUGE, LLC; FLOWERS
  BAKING COMPANY OF NEW ORLEANS,
  LLC; and FLOWERS BAKING COMPANY
  OF TYLER, LLC,

        Defendants.

  MEMORANDUM IN SUPPORT OF DEFENDANTS’ OBJECTIONS TO MAGISTRATE
              JUDGE’S REPORT AND RECOMMENDATION




                                                  i
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 2 of 32 PageID #:
                                 13507



                                                     TABLE OF CONTENTS



   I.     PROCEDURAL POSTURE .............................................................................................................. 3
   II. FACTUAL BACKGROUND............................................................................................................ 4
   III. ARGUMENT AND OBJECTIONS .................................................................................................. 5
        A. The Magistrate Judge Failed to Conduct the Requisite Rigorous Analysis Required by the
           Supreme Court in Dukes, Thus Improperly Granting Class Certification...................................... 5
             1.    The R&R fails to rigorously analyze commonality and instead relies on common
                   classification to improperly grant certification. ..................................................................... 7
                     a. Undue reliance on common classification constitutes reversible error. .......................... 8
                     b. The other “common evidence” is legally irrelevant and/or wholly unsupported or
                        contradicted by the record evidence. ............................................................................. 11
                     c. The R&R’s Reliance on Rehberg does not obviate the need for a rigorous analysis. ... 12
             2.    The R&R fails to rigorously analyze adequacy, raising significant due process concerns for
                   class members who do not want to be employees. ............................................................... 13
             3.    The R&R fails to independently—or rigorously—analyze predominance, ignoring
                   significant evidence and improperly granting class certification. ........................................ 14
             4.    The R&R fails to conduct any analysis of rule 23(b)(2) certification. ................................. 20
        B. The R&R Fails to Analyze the Evidence with the Requisite “Heigtened Scrutiny” for
           Decertification and Wholly Ignores Plaintiffs’ Failure to Satisfy Their Burden of Proof. .......... 21
        C. The R&R Ignores the Significant Due Process Concerns Associated with the “Representative
           Testimony” Offered by the FLSA Plaintiffs. ............................................................................... 23
   IV. CONCLUSION ............................................................................................................................... 25




                                                                        ii
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 3 of 32 PageID #:
                                 13508


                                                      TABLE OF AUTHORITIES

                                                                                                                                             Page(s)

 Cases

 Alberghetti v. Corbis Corp.,
     263 F.R.D. 571 (C.D. Cal. 2010).......................................................................................................... 14

 Allison v. Citgo Petroleum Corp.,
     151 F.3d 402 (5th Cir. 1998) ................................................................................................................ 20

 Amchem Products, Inc. v. Windsor,
    521 U.S. 591 (1997) ............................................................................................................................. 13

 Andel v. Patterson–UTI Drilling Co.,
    280 F.R.D. 287 (S.D. Tex. 2012) ......................................................................................................... 22

 Brock v. Mr. W Fireworks, Inc.,
    814 F.2d 1042 (5th Cir. 1987) .............................................................................................................. 22

 Casias v. Distribution Mgmt. Corp., Inc.,
    No. CV 11-00874, 2014 WL 12710236 (D.N.M. Mar. 31, 2014)........................................................ 10

 Comcast Corp. v. Behrend,
    569 U.S. 27 (2013) ............................................................................................................................... 14

 Dailey v. Groupon, Inc.,
    No. 11 C 05685, 2014 WL 4379232 (N.D. Ill. Aug. 27, 2014)............................................................ 10

 In re Diet Drugs Prods. Liab. Litig.,
     385 F.3d 386 (3d Cir. 2004) ................................................................................................................. 14

 Dole v. Snell,
    875 F.2d 802 (10th Cir. 1989) .............................................................................................................. 22

 Dvorin v. Chesapeake Explor.,
    LLC, No. 12-CV-3728, 2013 WL 6003433 (N.D. Tex. Nov. 13, 2013) .............................................. 16

 Encino Motorcars, LLC v. Navarro,
    136 S. Ct. 2117 (2016) ......................................................................................................................... 24

 EQT Prod. Co. v. Adair,
    764 F.3d 347 (4th Cir. 2014) .......................................................................................................... 15, 16

 In re FedEx Ground Pkg. Sys. Inc. Emp’t Prac. Litig.,
     662 F. Supp. 2d 1069 (N.D. Ind. 2009) ................................................................................................ 18

 Gene And Gene LLC v. BioPay LLC,
    541 F.3d 318 (5th Cir. 2008) ................................................................................................................ 17



                                                                           iii
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 4 of 32 PageID #:
                                 13509


 Jacob v. Duane Reade, Inc.,
    289 F.R.D. 408 (2013), aff’d 602 F. App’x 3d (2d Cir. 2015) ............................................................. 10

 Johnson v. Big Lots Stores, Inc.,
    561 F. Supp. 2d 567 (E.D. La. 2008) ....................................................................................... 22, 23, 24

 Kabbash v. Jewelry Channel, Inc. USA,
    No. A-16-CA-212-SS, 2017 WL 2473262 (W.D. Tex. June 7, 2017) ................................................. 20

 Langbecker v. Elec. Data Sys. Corp.,
    476 F.3d 299 (5th Cir. 2007) ................................................................................................................ 14

 Leon v. Diversified Concrete, LLC,
    No. CV 15-6301, 2016 WL 6247674 (E.D. La. Oct. 26, 2016) ..................................................... 15, 16

 Madison v. Chalmette Refining, L.L.C.,
    637 F.3d 551 (5th Cir. 2011) ...................................................................................................... 7, 16, 17

 Mario v. UPS, Inc.,
    639 F.3d 942 (9th Cir. 2011) .................................................................................................................. 8

 Myers v. Hertz Corp.,
    624 F.3d 537 (2d Cir. 2010) ............................................................................................................. 9, 10

 Nerland v. Caribou Coffee Co., Inc.,
    564 F. Supp. 2d 1010 (D. Minn. 2007) .................................................................................................. 9

 Ocampo v. Maronge,
    237 So. 3d 627 (La. Ct. App. 2017) writ denied, 240 So. 3d 920 (La. 2018) ...................................... 15

 Paternostro v. Choice Hotel Int’l Servs. Corp.,
     309 F.R.D. 397 (E.D. La. 2015) ........................................................................................................... 21

 Prejean v. O’Brien’s Response Mgmt., Inc.,
     No. CIV.A. 12-1045, 2013 WL 5960674 (E.D. La. Nov. 6, 2013) ...................................................... 22

 Proctor v. Allsups Convenience Stores, Inc.,
    250 F.R.D. 278 (N.D. Tex. 2008) ......................................................................................................... 21

 Randall v. Rolls-Royce Corp.,
    637 F.3d 818 (7th Cir. 2011) ................................................................................................................ 21

 Rea v. Michaels Stores, Inc.,
    No. SAC-13-455-GW(AGRx), 2014 WL 1921754 (C.D. Cal. May 8, 2014)...................................... 10

 Rios v. Classic S. Home Constr., Inc.,
     No. CV 15-4104, 2016 WL 2625886 (E.D. La. May 9, 2016) ....................................................... 21, 23

 Ruggles v. WellPoint, Inc.,
    272 F.R.D. 320 (N.D.N.Y. 2011) ......................................................................................................... 10



                                                                         iv
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 5 of 32 PageID #:
                                 13510


 Scales v. Huntleigh USA Corp.,
     No. 11-2967, 2012 WL 860381 (E.D. La. Mar. 12, 2012) ................................................................... 18

 Slaughter v. Board of Supervisors S. Univ.,
     76 So. 3d 438 (La. Ct. App. 2011) ....................................................................................................... 18

 M.D. ex rel. Stukenberg v. Perry,
    675 F.3d 832 (5th Cir, 2012) ........................................................................................................ 6, 7, 13

 Thibault v. Bellsouth Telecomm., Inc.,
     612 F.3d 843 (5th Cir. 2010) ............................................................................................................ 8, 22

 Vinole v. Countrywide Home Loans, Inc.,
    571 F.3d 935 (9th Cir. 2009) .................................................................................................................. 9

 Wal-Mart Stores, Inc. v. Dukes,
    564 U.S. 338 (2011) ...................................................................................................................... passim

 Wang v. Chinese Daily News, Inc.,
    231 F.R.D. 602 (C.D. Cal. 2005)............................................................................................................ 9

 Wang v. Chinese Daily News, Inc.,
    737 F.3d 538 (9th Cir. 2013) .................................................................................................................. 9

 In re Wells Fargo Home Mortg. Overtime Pay Litig.,
     571 F.3d 953 (9th Cir. 2009) .......................................................................................................... 10, 11

 Statutes

 26 U.S.C. § 3121(d)(3)(A) .......................................................................................................................... 11

 28 U.S.C. § 636(1) ........................................................................................................................................ 5

 Fair Labor Standards Act .................................................................................................. 2, 3, 22, 23, 24, 25

 IRC Section 3121(d)(3)............................................................................................................................... 11

 LA. STAT. ANN. § 23:631 et seq. ................................................................................................................... 3

 LA. STAT. ANN. § 23:635 ...................................................................................................................... 18, 20

 Other Authorities

 Rule 23 ................................................................................................................ 3, 5, 6, 7, 13, 14, 15, 20, 21

 Rule (b)(2)................................................................................................................................................... 21




                                                                                v
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 6 of 32 PageID #:
                                 13511



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


  ANTOINE RICHARD, DARRELL
  RICHARD, CHRIS MECHE, DERBY
  DOUCET, SR., KEVIN RABEAUX, and
  MARK LOUVIERE, individually and on
  behalf of all similarly situated individuals,
                                                           CIVIL ACTION NO. 15-cv-2557
        Plaintiffs,
                                                           DISTRICT JUDGE S. MAURICE
  VERSUS                                                   HICKS

  FLOWERS FOODS, INC.; FLOWERS                             MAGISTRATE JUDGE CAROL
  BAKING COMPANY OF LAFAYETTE,                             B. WHITEHURST
  LLC; FLOWERS BAKING COMPANY OF
  BATON ROUGE, LLC; FLOWERS
  BAKING COMPANY OF NEW ORLEANS,
  LLC; and FLOWERS BAKING COMPANY
  OF TYLER, LLC,

        Defendants.

  MEMORANDUM IN SUPPORT OF DEFENDANTS’ OBJECTIONS TO MAGISTRATE
              JUDGE’S REPORT AND RECOMMENDATION

        NOW INTO COURT, through the undersigned Counsel, come Defendants, Flowers

 Baking Company of Tyler, LLC, Flowers Baking Co. of New Orleans, LLC, Flowers Baking Co.

 of Baton Rouge, LLC, Flowers Baking Co. of Lafayette, LLC, and Flowers Foods, Inc.

 (collectively, “Defendants”) and file this Memorandum in Support of Defendants’ Objections to

 the Report and Recommendations (“R&R”) issued on August 13, 2018 (Ct. Doc. No. 339).

        As discussed more fully below, the District Judge should grant Defendants’ Objections and

 set aside the R&R, following the requisite de novo review. With all due respect to Magistrate Judge

 Whitehurst, the R&R, on its face, confirms that no analysis was conducted—let alone a rigorous

 one—of the claims, defenses and applicable substantive law in this case when determining whether

 class or collective certification is appropriate. Indeed, the 34-page R&R does not contain a single


                                                  1
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 7 of 32 PageID #:
                                 13512



 evidentiary citation, nor does it contain any analysis whatsoever of the various legal factors under

 the tests used to adjudicate the claims and defenses in this case. Rather, the R & R focuses on

 common classification, and a different case, with different facts, a different evidentiary record, and

 different substantive law. No analysis was conducted regarding 23(b)(2) certification. This raises

 significant due process concerns and could result in over 340 distributors being declared

 employees, without the ability to opt out, when several have already testified they do not want this

 result.

           Conducting a case-specific rigorous analysis is not optional: it is required by both

 established Supreme Court and Fifth Circuit precedent. Failure to conduct this rigorous analysis

 constitutes reversible error. And, as the underlying briefs and evidentiary record here establishes,

 when the proper analysis is completed, it is clear that Plaintiffs failed to carry their burden to show

 class or collective certification is appropriate.

           The R&R, on its face, also confirms that the Magistrate Judge failed to analyze the

 individualized inquiries presented by the Fair Labor Standards Act’s (“FLSA”) economic realities

 test and Defendants’ individualized FLSA defenses under the “heightened standard” applicable at

 decertification. This is despite the fact that when refusing to consider these individualized inquiries

 at conditional certification, the Magistrate Judge specifically acknowledged that these inquiries

 “should be addressed at the decertification stage.” (Ct. Doc. No. 136, p. 16.) The R&R’s failure to

 cite a single piece of evidence, despite the extensive record here, confirms that these necessary

 inquiries were simply not made.

           For these reasons, and as more fully discussed below, Defendants’ Objections should be

 granted, and the R & R should be set aside.




                                                     2
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 8 of 32 PageID #:
                                 13513



 I.      PROCEDURAL POSTURE

         Plaintiffs filed their Class and Collective Action Complaint on October 21, 2015 alleging

 violations of the Fair Labor Standards Act (“FLSA”) and LA. STAT. ANN. § 23:631 et seq.1 (See

 Ct. Doc. No. 1). Plaintiffs filed a Motion for Conditional Certification on September 1, 2016. (See

 Ct. Doc. No. 105). On November 28, 2016, under the “lenient standard” applied at conditional

 certification, the Court granted Plaintiffs’ Motion for Conditional Certification. (See Ct. Doc. No.

 136). Therein, the Court noted that it was not considering the deposition testimony offered by

 Defendants in connection with the opposition because any inquiry into the “true employment status

 of Plaintiffs should be addressed at the decertification stage.” (Ct. Doc. No. 136, p. 16).

         Currently, there are 98 FLSA Plaintiffs and Opt-In Plaintiffs. Defendants moved for

 decertification on January 17, 2018, citing significant record evidence to show how dissimilar the

 FLSA Plaintiffs are on virtually every prong necessary to establish their claims. (See Ct. Doc. No.

 310). This included attaching an extensive evidentiary differences chart, with Plaintiffs’ own

 testimony, highlighting these differences. (See Ct. Doc. No. 310-7). On December 27, 2017,

 Plaintiffs moved for class certification, seeking to represent 341 different distributors throughout

 Louisiana. (See Ct. Doc. No. 299). Defendants replied to this motion on February 2, 2018,

 referencing the significant record evidence illustrating how Plaintiffs could not establish their

 burden to meet each element of Rule 23. (See Ct. Doc. No. 317). Defendants also attached a chart

 comparing Plaintiffs’ testimony to their repeated unsupported assertions to illustrate the inherent

 problems with the “evidence” Plaintiffs submitted, however limited. (Ct. Doc. No. 317-9).

         The Magistrate issued the R& R on August 13, 2018 granting Plaintiffs’ Motion for Class

 Certification and denying Defendants’ Motion for Decertification. (Ct. Doc. No. 339). As


 1
  Plaintiffs filed First and Second Amended and Restated Class and Collective Action Complaints—asserting the same
 two claims—on December 21, 2015 (Ct. Doc. No. 5) and February 15, 2017 (Ct. Doc. No. 196).

                                                        3
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 9 of 32 PageID #:
                                 13514



 discussed more fully below, the R&R is devoid of any meaningful analysis of the record or the

 substantive legal tests to adjudicate Plaintiffs’ claims and Defendants’ defenses and is otherwise

 objectionable in multiple respects.

 II.     FACTUAL BACKGROUND

         Plaintiffs are independent contractor distributors who purchase distribution rights to buy

 and sell products to customers in a defined geographic area. Plaintiffs contracted with three

 different separately-operated subsidiaries. (Ct. Doc. Nos. 317-2 ¶¶ 6-10 and Ex. 2; 317-3 ¶¶ 6-10

 and Ex. 2; 317-4 ¶¶ 6-10 and Ex. 2). The Distributor Agreement2 under which Plaintiffs operate

 contains numerous indicia of independent contractor status, specifically providing that

 “DISTRIBUTOR shall not be controlled by COMPANY as to the specific details or manner of

 DISTRIBUTOR’S business.” (Ct. Doc. 317, p. 4).

         Contrary to Plaintiffs’ contention that Flowers “controls nearly all aspects of a distributor’s

 job,” the record evidence shows that distributors are subject to different levels of control in many

 different areas. (See Ct. Doc. No. 310-7, pp. 2-5, 9-10, 24-26, §§ I, II, V, XVII, XVIII (containing

 varying testimony on the various different control factors)). Further, the record confirms that

 distributors can and do take advantage of the various entrepreneurial opportunities afforded by the

 distributor program but do so in significantly different ways. For example: (1) some distributors

 own multiple territories and are “absentee” owners, i.e. they hire others to do the work for which

 they are claiming compensation (Ct. Doc. Nos. 310-1, pp. 9–10; 317, p. 7); (2) some distributors

 hire one or several employees, including on a full-time basis (Ct. Doc. Nos. 310-1, pp. 9–10; 317,



 2
  Distributors in the putative class signed different versions of Distributor Agreements. Some distributors signed
 Distributor Agreements with a statute-of-limitations provision. (Ct. Doc. Nos. 317-2 ¶ 7 and Ex. 2-4; 317-3 ¶ 7 and
 Ex. 2-4; 317-4 ¶ 7 and Ex. 2-4). Some signed a Distributor Agreement containing an arbitration agreement with a class
 action waiver. (Ct. Doc. Nos. 317-2 ¶¶ 9-10, Exs. 2, 5-6; 317-3 ¶¶ 9-10, Exs. 2, 5-6; 317-4 ¶¶ 9-10, Exs. 2, 5-6).
 Distributors who contracted from August 1, 2006 on were treated as traditional franchisees and received a Franchise
 Disclosure Document. (Ct. Doc. No. 317-5 ¶ 3 and Ex. 1). The significance of these differences is discussed below.

                                                          4
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 10 of 32 PageID #:
                                  13515



  pp. 6–7); (3) some distributors operate outside businesses, including selling other bread products

  (Ct. Doc. Nos. 310-1, pp. 11–12; 317, pp. 7–8); (4) some distributors operate their businesses

  through separate legal entities (Ct. Doc. Nos. 310-1, p. 7; 317 p. 8); and (5) numerous distributors

  engage in various different activities to increase their sales, such as asking for displays, extending

  credit, changing product placement, recommending new products, and the like. (Ct. Doc. Nos.

  310-1, pp. 20–21; 317, pp. 8–11).

  III.   ARGUMENT AND OBJECTIONS

         Pursuant to 28 U.S.C. § 636(1), a judge of the court shall make a de novo determination of

  those portions of the R&R to which specific objections are made. A judge may accept, reject, or

  modify, in whole or in part, the findings or recommendations made by the magistrate judge or,

  alternatively, recommit the matter to the magistrate judge with instructions.

         As discussed more fully below, the District Judge should reject the R&R outright because

  it fails to rigorously analyze the facts and law in this case to determine whether class or collective

  treatment is appropriate. Alternatively, the District Judge should remand the matter back to the

  Magistrate Judge with specific instructions to comply with rigorous analysis requirement of Rule

  23, the heightened standard under 216(b), and other legal principles.

  A. The Magistrate Judge Failed to Conduct the Requisite Rigorous Analysis Required by
     the Supreme Court in Dukes, Thus Improperly Granting Class Certification.

         First, the Court should reject the R&R in its entirety because the R&R, on its face, confirms

  the Magistrate Judge failed to conduct the requisite rigorous analysis to determine if Plaintiffs

  carried their burden to produce “significant proof” showing Rule 23’s requirements are met. Wal-

  Mart Stores, Inc. v. Dukes, 564 U.S. 338, 353 (2011) (requiring plaintiffs to provide “significant

  proof” to “bridg[e] the gap” between the named plaintiff’s claim and those of the class members).




                                                    5
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 11 of 32 PageID #:
                                  13516



  Most tellingly, as noted above, the R&R fails to contain a single evidentiary citation to the

  record.

         It is well-established that class certification is proper only if the Court “is satisfied, after a

  rigorous analysis, that the prerequisites of Rule 23(a) [and (b)] have been satisfied.” Dukes, 564

  U.S. at 350-51; M.D. ex rel. Stukenberg v. Perry, 675 F.3d 832, 837 (5th Cir, 2012) (quoting

  Castano v. Am. Tobacco Co., 84 F.3d 734, 740 (5th Cir. 1966)) (“[a] district court must conduct a

  rigorous analysis of the Rule 23 prerequisites before certifying a class.”). This is because a class

  action is “an exception to the usual rule that litigation is conducted by and on behalf of individual

  named parties only.” Dukes, 564 U.S. at 348. The Fifth Circuit “require[s] district courts to, inter

  alia, ‘look beyond the pleadings to understand the claims, defenses, relevant facts, and applicable

  substantive law in order to make a meaningful determination of the certification issues.’”

  Stukenberg, 675 F.3dat 837 (quoting McManus v. Fleetwood Enters., Inc., 320 F.3d 545, 548 (5th

  Cir. 2003)).

         In the Fifth Circuit, failure to conduct this rigorous analysis constitutes reversible

  error. Stukenberg, 675 F.3d at 837. For example, in Stukenberg, the Fifth Circuit reversed a

  district court’s certification decision in part because “the district court failed to perform the

  rigorous analysis required by Rule 23 in failing to look beyond the pleadings to understand the

  claims, defenses, relevant facts, and applicable substantive law in order to make a meaningful

  determination.” Id. at 842. Notably, the district court conducted no analysis of the elements and

  defenses for establishing any of the proposed claims, nor did it adequately explain how those

  claims depend on a common legal contention whose resolution “will resolve an issue that is central

  to the validity of each of [the individual’s] claims in one stroke.’” Id. at 838 (quoting Dukes, 564

  U.S. at 350). Instead, the district court primarily relied “on the conclusions of other courts that



                                                     6
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 12 of 32 PageID #:
                                  13517



  have certified similar classes” to determine that class members shared a “common legal claim”

  and thus commonality was met. Id at 842. (emphasis added). The Fifth Circuit summarily rejected

  the district court’s analysis—or lack thereof—and remanded it back for further proceedings,

  specifically noting that the district court did not conduct the requisite rigorous analysis or explain

  how the resolution of the claims “will resolve an issue that is central to the validity of each of the

  [class members’] claims in one stroke.”3 Id. at 844–45. As discussed below, the R&R here suffers

  from the same fundamental flaws.

           1. The R&R fails to rigorously analyze commonality and instead relies on common
              classification to improperly grant certification.

           To satisfy commonality, Plaintiffs must do more than merely present “questions that are

  common to the class because ‘any competently crafted complaint literally raises common

  questions.’” Stukenberg, 675 F.3d at 840 (quoting Dukes, 564 U.S. at 350). Rather, Plaintiffs must

  establish with competent evidence that the “claims of every class member ‘depend on a common

  contention . . . that is capable of class-wide resolution,’ meaning that the contention is ‘of such a

  nature … that the determination of its truth or falsity will resolve an issue that is central to the

  validity of each one of the claims in one stroke.’” Stukenberg, 675 F.3d at 838 (quoting Dukes,

  564 U.S. at 350) (emphasis added). To determine whether Plaintiffs carried their burden, the court

  must “look beyond the pleadings to ‘understand the claims, defenses, relevant facts, and

  substantive law.’” McManus, 320 F.3d at 548 (quoting Castano, 84 F.3d at 744). In other words,

  the court must rigorously analyze the record under the lens of the applicable legal tests to determine

  whether commonality is satisfied. This was not done here.




  3
   See also Madison v. Chalmette Refining, L.L.C., 637 F.3d 551, 556 (5th Cir. 2011) (“We hold that the district court
  abused its discretion by failing to afford its predominance determination the ‘rigorous analysis’ that Rule 23 requires.
  The district court did not meaningfully consider how Plaintiff’' claims would be tried . . .”).

                                                             7
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 13 of 32 PageID #:
                                  13518



                    a. Undue reliance on common classification constitutes reversible error.

           Instead of rigorously analyzing the facts and law in this case to determine whether

  Plaintiffs met their burden, the R&R improperly finds that commonality is satisfied because each

  class member is asserting the common legal theory of misclassification. See Ct. Doc. 339, p. 10

  (“[e]ach class member’s claims arise out of Flowers’ uniform policy of classifying their

  distributors as independent contractors and applying deductions and offsets for purposes breaches

  of Flowers’ policies and procedures.”). As Dukes establishes, however, this is not enough. Rather,

  the court must determine whether these common questions “will resolve an issue that is central to

  the validity of each one of the [class member’s claims] in one stroke.” Dukes, 564 U.S. at 350.

           Here, the R&R does not even discuss the legal tests and elements applicable to the

  Louisiana claims, let alone contain an analysis of how the resolution of the common questions

  would yield common answers for all of the 341 putative plaintiffs at once given this record. Rather,

  the R&R erroneously holds when a common classification decision has been made, the court

  should not analyze or consider this individualized evidence. More specifically, the Magistrate

  Judge acknowledges that Flowers “attempts to engage in an analysis of different factors that are

  necessary to consider under Louisiana law to determine independent contractor status.” (Ct. Doc.

  No. 339, p. 11). However, the Magistrate Judge finds that because Flowers “did not engage in an

  individualized analysis of the particular circumstances surrounding each distributor’s job” when

  making the initial classification decision, Flowers “cannot now rely on such an argument to defeat

  certification of the plaintiffs’ claims.” (Id.) 4 In other words, the R&R finds that common



  4
    Further, contrary to Plaintiffs’ assertions that they must all be independent contractors or employees together, the
  classification may be proper for some but improper for others. See Thibault v. Bellsouth Telecomm., Inc., 612 F.3d
  843, 848 (5th Cir. 2010) (stating that the “nature of this analysis suggests that in some cases [plaintiffs] might be
  employees” while others are independent contractors); Mario v. UPS, Inc., 639 F.3d 942, 948 (9th Cir. 2011)
  (“existence of a policy classifying [supervisors] as exempt . . . does not necessarily establish [they] were misclassified,
  because the policy may have accurately classified some employees and misclassified others.”).

                                                              8
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 14 of 32 PageID #:
                                  13519



  classification trumps the court’s obligation to conduct a rigorous analysis of the record evidence,

  citing Nerland, a 2007 pre-Dukes case from Minnesota.5 (See Ct. Doc. No. 317, pp. 16–18). This

  is directly contrary to Dukes and Fifth Circuit precedent, ignores that Plaintiffs have the burden to

  establish commonality with competent evidence, and would constitute reversible error.

          Moreover, the R&R’s undue reliance on common classification, to the near exclusion of

  all else, is contrary to the overwhelming weight of authority.6 In fact, there is only one post-Dukes

  class certification decision cited in all of Plaintiffs’ briefing and the R&R, namely Rehberg, where

  a district court in North Carolina found uniform classification sufficient to warrant class

  certification. However, the Circuit Courts of Appeal that have addressed this issue have found that

  a “district court abuses its discretion in relying on an internal uniform exemption policy to the near

  exclusion of other factors relevant to the predominance inquiry.” Vinole v. Countrywide Home

  Loans, Inc., 571 F.3d 935, 946 (9th Cir. 2009). See also Wang v. Chinese Daily News, Inc., 737

  F.3d 538, 544–46 (9th Cir. 2013) (a presumption that class certification is appropriate with a

  uniform classification decision “disregards the existence of other potential individual issues that

  may make class treatment difficult if not impossible”); Myers v. Hertz Corp., 624 F.3d 537, 549

  (2d Cir. 2010) (“the existence of a blanket exemption policy, standing alone, is not itself

  determinative of the main concern in the predominance inquiry: the balance between individual




  5
    Nerland v. Caribou Coffee Co., Inc., 564 F. Supp. 2d 1010, 1024 (D. Minn. 2007). Nerland’s reasoning that a
  Defendant is estopped from relying on individualized evidence when they make a uniform classification decision was
  derived from Wang v. Chinese Daily News, Inc., 231 F.R.D. 602, 613 (C.D. Cal. 2005). The Ninth Circuit later
  overturned Wang because the district court’s decision to certify the class “rested on the fact, considered largely in
  isolation, that plaintiffs are challenging [defendant’s] uniform policy of classifying all reporters and account
  executives as exempt employees.” Wang v. Chinese Daily News, Inc., 737 F.3d 538, 545 (9th Cir. 2013).
  6
    Nearly every court to address this “common classification alone is sufficient” argument has done so under the
  predominance inquiry. Because Plaintiffs make the argument with regard to commonality, Defendants address it here.

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Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 15 of 32 PageID #:
                                  13520



  and common issues.”); In re Wells Fargo Home Mortg. Overtime Pay Litig., 571 F.3d 953, 957

  (9th Cir. 2009) (same).7

           This is because common classification, alone, does nothing to prove “in a single stroke”

  that all 341 putative plaintiffs are misclassified, particularly on this record. Rea v. Michaels Stores,

  Inc., No. SAC-13-455-GW(AGRx), 2014 WL 1921754, at *4 (C.D. Cal. May 8, 2014) (fact that

  there are common policies, requirements, or issues does not eliminate need for individualized

  inquiries because these policies do no establish whether they are actually engaged in exempt

  duties). See Jacob v. Duane Reade, Inc., 289 F.R.D. 408, 415 (2013), aff’d 602 F. App’x 3d (2d

  Cir. 2015) (“a generalized, central policy [of common classification] is not alone determinative of

  class certification or commonality”).8

           In fact, in In re Wells Fargo, the Ninth Circuit reversed a grant of class certification that

  was largely based on a uniform policy of classifying employees as exempt. 571 F.3d at 957-58.

  The district court (like Plaintiffs argue here) noted that it is “manifestly disingenuous for a

  company to treat a class of employees as a homogenous group for the purposes of internal policies

  and compensation, and then assert that the same group is too diverse for class purposes in overtime

  litigation.” Id. The Ninth Circuit reversed, finding that while common classification is one factor,

  it is an abuse of discretion to rely on it “to the near exclusion of other factors relevant to the

  predominance inquiry.” Id. at 959. This is because a uniform exemption policy, like uniform


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    See also, Casias v. Distribution Mgmt. Corp., Inc., No. CV 11-00874 MV/RHS, 2014 WL 12710236, at *11 (D.N.M.
  Mar. 31, 2014) (an employer’s blanket application of exemption status, whether right or wrong, does nothing to
  facilitate common proof on the otherwise individualized issues); Dailey v. Groupon, Inc., No. 11 C 05685, 2014 WL
  4379232, at *5 (N.D. Ill. Aug. 27, 2014) (“although Groupon's uniform exemption policy is certainly relevant, it is
  only one of many facts that the Court must consider in the predominance analysis. In addition to the exemption policy,
  the Court must still consider Account Reps' actual day-to-day job duties”) (emphasis in original).
  8
    See also Meyers, 624 F.3d at 549 (a common exemption policy may be “in a general way relevant” but standing
  alone, it “is not itself determinative of the main concern in the predominance inquiry: the balance between individual
  and common issues.”); Ruggles v. WellPoint, Inc., 272 F.R.D. 320, 341 (N.D.N.Y. 2011) (“The existence uniform
  exemption does not relieve the Court from inquiring how individual employees actually spend their time, and therefore
  such a policy says little about the main concern in the predominance inquiry…”).

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Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 16 of 32 PageID #:
                                  13521



  classification, “does nothing to facilitate common proof on the otherwise individualized issues.”

  Id. Instead, the factfinder must still determine how each class member is actually spending his/her

  time and then determine whether those issues would predominate. Id.

         The same reasoning applies with equal force here. If the Court adopts Plaintiffs’ contention

  that common classification is enough, then every single misclassification or exemption case would

  result in automatic class or collective action certification, and no analysis—let alone a rigorous

  one—would be required.

                 b. The other “common evidence” is legally irrelevant and/or wholly unsupported
                    or contradicted by the record evidence.

         While the Court attempts to cite “[o]ther facts” that are “common” to each plaintiff in the

  commonality analysis, the “evidence” the Court cites is Flowers’ uniform treatment of distributors

  as “statutory employees” pursuant to Section 3121(d)(3) of the IRC. (Ct. Doc. No. 339, p. 11).

  However, this does nothing to establish commonality because to be a statutory employee under

  the IRC, one must necessarily be a common law independent contractor. 26 U.S.C.

  § 3121(d)(3)(A). Furthermore, commonality must be examined through the prism of the legal

  standards relevant to the state law claims in this case— not federal tax treatment. And, just as

  importantly, a common lawful policy is not sufficient to support class certification. (See Ct. Doc.

  No. 317, pp. 16–18, 25–29).

         The R&R’s conclusory reference to other “evidence” does nothing more to satisfy the

  “rigorous analysis” because it fails to distinguish or rigorously analyze the significant testimony,

  often from Plaintiffs themselves, that contradicts the “common evidence” cited. For example, the

  R&R notes—without a single citation to the record—that distributors were all “instructed to carry

  out their jobs subject to the Distributor Agreement,” and that all had “substantially similar job

  duties,” and were subject to control over “virtually all aspects of product sales.” (Ct. Doc. No. 339,


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Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 17 of 32 PageID #:
                                  13522



  p. 13–14).9 However, the R&R fails to discuss or analyze how this “evidence” can be used for each

  of the prongs of the legal tests applicable to the Louisiana claims to adjudicate the claims of all

  341 putative class members at once. Moreover, the R&R largely ignores Defendants’ brief or the

  significant evidence discussed therein, refusing to acknowledge, distinguish, or rigorously analyze

  any of the significant testimony from Plaintiffs themselves that contradicts this “common

  evidence.” In failing to address this evidence at all or how it impacts class certification, the

  Magistrate Judge completely disregards the legal significance of these and the other factual

  differences, each of which is relevant to both class certification and decertification. The R&R must

  be rejected accordingly.

                   c. The R&R’s Reliance on Rehberg does not obviate the need for a rigorous
                      analysis.

          The R&R’s failure to conduct the requisite rigorous analysis of the fact and law in this case

  is also illustrated by its repeated reliance on the Rehberg decision. (See, e.g., Ct. Doc. No. 339, p.

  13 (deferring to Rehberg in large part on commonality); id. p. 19 (relying on Rehberg in lieu of

  conducting an independent predominance analysis); id. p. 29 (“adopting the rationale of the court

  in Rehberg” for decertification)). Reliance on Rehberg, however, is completely misplaced.

  Rehberg involved a different subsidiary and most importantly, different testimony from different

  plaintiffs. Rehberg also involved a different state statute that did not by its terms require the kind

  of deduction-by-deduction individualized analysis required by the Louisiana statute, as discussed

  more fully below. Moreover, reliance on Rehberg does not obviate the requirement to conduct a

  rigorous analysis of the facts and substantive law applicable in this case when determining whether

  class certification is appropriate.


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   As outlined in Defendants’ class certification and decertification papers, Plaintiffs failed to present much if any
  evidence in support of their arguments, particularly when compared to the extensive record evidence Defendants
  provided.

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Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 18 of 32 PageID #:
                                  13523



         The Fifth Circuit’s decision in Stukenberg is directly on point in this regard. 675 F.3d at

  842 (reasoning that the district court’s reliance on the “conclusions of other courts,” among other

  things, was improper). Like the district court in Stukenberg, the Magistrate Judge here failed to

  analyze the elements of the substantive legal claims and defenses when determining whether class

  certification was appropriate. Like the district court in Stukenberg, the Magistrate Judge failed to

  explain how the claims at issue depended on a common legal contention whose resolution “will

  resolve an issue that is central to the validity of each of [the individual’s] claims in one stroke.”

  See Dukes, 564 U.S. at 350. And, like the district court in Stukenberg, the Magistrate Judge

  primarily relied “on the conclusions of other courts” without conducting a rigorous analysis of the

  record here. The R & R must be set aside for the same reasons the district court found reversible

  error in Stukenberg.

         2. The R&R fails to rigorously analyze adequacy, raising significant due process
            concerns for class members who do not want to be employees.

         The R&R, again without any analysis of the evidence presented, concludes that “there are

  no actual or potential conflicts of interest between plaintiffs and the putative class” when finding

  adequacy was established. (Ct. Doc. No. 339, p. 17). This, however, is completely contradicted by

  the testimony of several class members that they do not want to be employees—the very relief

  sought here—raising significant due process concerns.

         Because there are no opt-out provisions of Rule 23(b)(2) certification, the only due process

  protection available to the mandatory class members is the adequacy of the class representatives

  in protecting their interests in the litigation under Rule 23(a)(4). The adequacy requirement is

  designed “to uncover conflicts of interest between named parties and the class they seek to

  represent.” Amchem Products, Inc. v. Windsor, 521 U.S. 591, 594 (1997). This inquiry is vital, as

  “class members with divergent or conflicting interests [from the named plaintiffs and class


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Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 19 of 32 PageID #:
                                  13524



  counsel] cannot be adequately represented...” In re Diet Drugs Prods. Liab. Litig., 385 F.3d 386,

  395 (3d Cir. 2004) (citing Amchem, 521 U.S. at 625–26). Crucially, a plaintiff cannot adequately

  represent a class when he or she “seeks relief which the class members do not want.” Alberghetti

  v. Corbis Corp., 263 F.R.D. 571, 578 (C.D. Cal. 2010) (citations omitted).

         Here, however, the putative class consists of individuals who definitively testified that they

  do not want to be employees and want to remain independent contractors. (Ct. Doc. No. 317, pp.

  33–34). Yet this relief and status will be forced on them, without the opportunity to opt out, if the

  Court finds they were misclassified and grants the injunctive and declaratory relief sought by

  Plaintiffs’ counsel. The Magistrate Judge fails to discuss these inherent conflicts, ignoring all of

  the evidence cited. Forcing this kind of relief on individuals without any opportunity to opt out is

  inconsistent with Fifth Circuit law and creates significant due process concerns. See Langbecker

  v. Elec. Data Sys. Corp., 476 F.3d 299, 315 (5th Cir. 2007) (“[s]ubstantial conflicts exist among

  the class members, raising questions about the adequacy of the lead Plaintiffs’ ability to represent

  the class,” where the named plaintiffs sought an injunction that would shut down the investment

  fund in which class members wanted to continue to invest).

         3. The R&R fails to independently—or rigorously—analyze predominance, ignoring
            significant evidence and improperly granting class certification.

         Perhaps most importantly, the R&R must be set aside outright because the Magistrate

  Judge fails to conduct any independent rigorous analysis to determine whether predominance

  under Rule 23(b)(3) is met. See Comcast Corp. v. Behrend, 569 U.S. 27, 34 (2013). In fact, the

  R&R contains virtually no analysis of predominance at all. Rather, when finding that

  predominance is satisfied, the R&R relies exclusively on: (1) the Rehberg decision; and (2) a

  conclusory statement that “[i]f Flowers misclassified plaintiffs, then the misclassification applies

  to every distributor making up the putative class, thus satisfying predominance.” (Ct. Doc. No.


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Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 20 of 32 PageID #:
                                  13525



  339, p. 20). This is the exact type of conclusory analysis, which fails to even discuss— let alone

  rigorously analyze—any of the facts or substantive claims applicable to this case that is prohibited

  by Dukes.

         For one, a misclassification finding is not a one-size-fits-all determination. If one

  distributor is misclassified it doesn’t necessarily follow that all others are. To determine whether

  an individual is an independent contractor requires a “factual determination to be decided on a

  case-by-case basis” within the lens of the multi-factor economic realities test or five-factor test

  used in Louisiana. Ocampo v. Maronge, 237 So. 3d 627, 633–34 (La. Ct. App. 2017) writ denied,

  240 So. 3d 920 (La. 2018). This necessarily requires an inquiry into actual practice with each

  individual. Id. It is highly plausible that a factfinder may find one distributor to be an employee

  and another to be an independent contractor given the significant differences by and between them.

  See fn. 3 supra and cases cited therein. This is particularly true on this record given the vast

  differences between putative plaintiffs, with some employing multiple employees, owning up to 8

  territories, operating outside businesses, and/or not personally servicing their territories for over a

  year and others being much different. It is for this reason that “uniform conduct” is not, by itself,

  sufficient to satisfy the more demanding predominance requirements. EQT Prod. Co. v. Adair, 764

  F.3d 347, 366 (4th Cir. 2014) (“the mere fact that the defendants engaged in uniform conduct is

  not, by itself, sufficient to satisfy Rule 23(b)(3)’s more demanding predominance requirement.”).

         While the R&R relies on Leon for the proposition that common classification is sufficient

  to establish predominance (Ct. Doc. No. 339, p. 20–21), reliance on this case is improper. Leon v.

  Diversified Concrete, LLC, No. CV 15-6301, 2016 WL 6247674 (E.D. La. Oct. 26, 2016). Leon

  involved a class action brought by independent contractor (“IC”) construction laborers under

  Louisiana’s workers’ compensation statute where the IC versus employee distinction is irrelevant



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Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 21 of 32 PageID #:
                                  13526



  because ICs are treated as employees as a matter of law as long as a substantial part of their work

  time is spent performing manual labor—which defendant did not dispute. Id. at *6. Most

  importantly, however, the defendant did not even challenge predominance in Leon, and the court

  never even analyzed the issue of whether common classification alone is sufficient.10

          Further, in the Fifth Circuit, when assessing whether predominance is satisfied, the court

  has an obligation to “‘inquire how the case will be tried,’ which ‘entails identifying the substantive

  issues that will control the outcome, assessing which issues will predominate, and then determining

  whether the issues are common to the class.’” Dvorin v. Chesapeake Explor., LLC, No. 12-CV-

  3728, 2013 WL 6003433, at *8 (N.D. Tex. Nov. 13, 2013) (quoting O’Sullivan v. Countrywide

  Home Loans, Inc., 319 F.3d 732, 738 (5th Cir. 2003)). Merely identifying common practices or

  evidence is not sufficient to establish predominance. Rather, the court must analyze “why those

  common practices [are] sufficient to ensure that the class members’ common issues would

  predominate over individual ones.” EQT Prod. Co., 764 F.3d at 366. See also Madison, 637 F.3d

  at 556–57.

          In the Fifth Circuit, failure to conduct this analysis also constitutes reversible error. The

  Fifth Circuit’s opinion in Madison is illustrative. In Madison, the Fifth Circuit reversed the district

  court’s class certification decision because the “the court failed to identify ‘the substantive issues

  that will control the outcome, assess[ ] which issues will predominate, and then determin[e]

  whether the issues are common to the class.’” Id. at 557 (quoting Bell Atl. Corp. v. AT&T Corp.,

  339 F.3d 294, 301 (5th Cir. 2003). The Fifth Circuit held that, “absent this analysis, it was

  impossible for the court to know whether the common issues would be a ‘significant’ portion of

  the individual trials, much less whether the common issues predominate.” Id. The Fifth Circuit


   Indeed, in two other cases involving Flowers’ subsidiaries in California, the court found that predominance was
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  not satisfied. (Ct. Doc. No. 317, pp. 34–35).

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Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 22 of 32 PageID #:
                                  13527



  reversed—even though it was applying the much higher an abuse of discretion standard—because

  “[i]n its certification order, the district court did not indicate that it had seriously considered the

  administration of the trial.” Id.

          Here, like Madison, the R&R’s discussion of predominance is devoid of any discussion of

  the legal claims or defenses in this case, let alone a detailed analysis of the individualized evidence

  necessary to establish the same and determine whether individualized or common issues would

  predominate. The R&R is also devoid of any discussion of how these claims could be tried

  together. Rather, the R&R merely states, without any analysis of the facts, that “[if] Flowers

  misclassified plaintiffs, then the misclassification applies to every distributor making up the

  putative class.” (Ct. Doc. No. 339, p. 20). This complete failure to independently analyze

  predominance would constitute reversible error. Madison, 637 F.3d at 555 (when analyzing

  predominance, failure to consider how a trial on the merits would be conducted if a class were

  certified by identifying and analyzing the substantive issues is reversible error). This is particularly

  problematic here when numerous affirmative defenses exist that hinge on individualized inquiries

  and individualized evidence.11

          While the R & R makes passing reference to some of the evidence Defendants submitted,

  it contains no analysis of this evidence whatsoever, instead finding that it is inapposite because

  “the need for some individualized proof of damages after the liability stage ‘will not defeat class

  certification’ where the computation of damages is largely a mechanical task.” (Ct. Doc. No. 339,

  p. 21). However, whether distributors hired employees or personally serviced their territories, for




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    It is well-established that the “‘predominance of individual issues necessary to decide an affirmative defense may
  preclude class certification.’” Gene And Gene LLC v. BioPay LLC, 541 F.3d 318, 327 (5th Cir. 2008) (quoting In re
  Monumental Life Ins. Co., 365 F.3d 408, 420 (5th Cir.2004)).

                                                          17
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 23 of 32 PageID #:
                                  13528



  example, is not a mere damages issue. Rather, this goes to the heart of liability regarding whether

  someone is truly an independent contractor.

           Most glaringly, the R&R fails to even discuss whether predominance exists for the

  Louisiana state law claims, assuming distributors are employees. (Ct. Doc. 339, p. 22). Yet the

  individualized inquires required to adjudicate the Louisiana deductions claims serve as an

  independent basis upon which to deny class certification. Indeed, in another independent

  contractor misclassification case applying Louisiana law, the court denied class certification on

  this basis. In re FedEx Ground Pkg. Sys. Inc. Emp’t Prac. Litig., 662 F. Supp. 2d 1069, 1092 (N.D.

  Ind. 2009) (denying certification because Louisiana Revised Statute Section 23:635 “requires

  individualized analysis to determine if [the alleged employer] deducted wages for lost or stolen

  packages in the absence of driver negligence or willfulness.”).

           The reasons predominance cannot be satisfied for the deduction claims are clear from the

  plain language of the statute. Specifically, the statute at issue (Section 635) provides:

           No person, acting either for himself or as agent or otherwise, shall assess any fines
           against his employees or deduct any sum as fines from their wages. This Section
           shall not apply in cases where the employees wilfully or negligently damage goods
           or works, or in cases where the employees wilfully or negligently damage or break
           the property of the employer . . .

  LA. STAT. ANN. § 23:635 (emphasis added).12 Adjudicating this claim for all 341 putative plaintiffs

  at once without individualized proof predominating is simply impossible because: (1) whether

  each deduction is a “fine” is a highly fact-specific inquiry; and, more importantly (2) the statute


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     As an initial matter, Plaintiffs cannot establish that the deductions they challenge are “fines” under the applicable
  law. Courts throughout Louisiana have strictly construed the term “fine” to mean an “arbitrarily fixed and assessed”
  monetary penalty for violation of a rule or regulation. This term does not automatically encompass every deduction
  made. See Scales v. Huntleigh USA Corp., No. 11-2967, 2012 WL 860381, at *4 (E.D. La. Mar. 12, 2012) (Section
  635 only “applies to fines, rather than to any deductions an employer might make. A fine, within the meaning of [the
  statute] is a pecuniary penalty imposed for violation of some law, rule, or regulation, and denotes a punishment
  imposed.”). Further, courts have repeatedly found that deductions made pursuant to a written contract between the
  parties or otherwise consented to in advance do not constitute prohibited fines. Slaughter v. Board of Supervisors S.
  Univ., 76 So. 3d 438 (La. Ct. App. 2011). See also Ct. Doc. No. 317, pp. 20–22.

                                                            18
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 24 of 32 PageID #:
                                  13529



  explicitly requires a determination into whether the employee “willfully or negligently” damages

  goods or breaks the property of the employer when determining if the deduction was unlawful.

         As discussed in Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for Class

  Certification, two of the larger deductions that distributors may have on their settlement are for

  stale and shrink. (Ct. Doc. No. 317, pp. 22–25). However, whether these deductions are even

  charged and circumstances surrounding the same varies significantly, even for the same

  distributor, making highly-individualized—and not common—proof central to proving this claim.

  This analysis into the “shrink” deduction is a prime example. (Ct. Doc. No. 317, pp. 24–25).

  Shrink is almost always caused by accounting errors by distributors—either the amount of goods

  going into the account for which distributors receive temporary credit or errors in the weekly

  inventory process. (Ct. Doc. No. 317, p. 24). Other times, however, it may be caused by other

  factors, including theft or the customer using the product in their own bakery. (Ct. Doc. No. 317,

  p. 24). Some distributors have never been charged for shrink. (Ct. Doc. No. 317, p. 24).

  Sometimes, individualized shrink charges are reversed. (Ct. Doc. No. 317, p. 25).

         Determining whether any shrink charge could be considered a “fine” would require an

  analysis of each Weekly Settlement Statement received by each of the 341 distributors for each

  week to determine whether: (1) they were charged for shrink that week; and (2) whether the shrink

  was caused by that individual distributor’s negligence in counting inventory, for example, or

  another factor beyond the distributor’s control, such as theft. There is simply no way to make this

  willful or negligent conduct determination on a class-wide basis for all 341 distributors “in one

  stroke.” The fact that all distributors may be charged “fines or fees” at some point—which is the




                                                  19
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 25 of 32 PageID #:
                                  13530



  only thing Plaintiffs and the R&R appears to rely on—is not sufficient and does nothing to satisfy

  the predominance inquiry.13

           4. The R&R fails to conduct any analysis of rule 23(b)(2) certification.

           The R&R is also manifestly erroneous because it fails to apply Rule 23(b)(2) appropriately

  and fails to analyze it at all. Rather, the R&R merely states that “[a] finding that distributors are

  employees is also dispositive of plaintiffs’ prayer for declaratory and injunctive relief.” (Ct. Doc.

  No. 339, p. 22). This completely misses the mark. And, as discussed more fully in Defendants’

  Memorandum in Opposition to Motion for Class Certification, Rule 23(b)(2) certification is wholly

  improper here for several reasons. Rule 23(b)(2) authorizes class treatment only where “final

  injunctive relief or corresponding declaratory relief is appropriate respecting the class as a whole.”

  FED. R. CIV. P. 23(b)(2). By contrast, “claims for monetary relief may not be certified under

  23(b)(2) when monetary relief is not incidental to the injunctive or declaratory relief.” Dukes, 564

  U.S. at 360; see also Allison v. Citgo Petroleum Corp., 151 F.3d 402, 415 (5th Cir. 1998).

  Incidental damages are “those to which class members automatically would be entitled once

  liability to the class (or subclass) as a whole is established,” without requiring “additional

  hearings” or “complex individualized determinations.” Allison, 151 F.3d at 415.

           Determining damages in this case cannot be conducted by merely applying a one-size-fits-

  all mechanical formula. Rather, Plaintiffs seek nine items of relief, including, among others, back

  pay and punitive damages. (Ct. Doc. No. 196, Prayer for Relief). See also Dukes, 564 U.S. at 366–

  67 (monetary damages not incidental where individualized backpay is sought).14 And, given the

  individualized calculations that would be required if Plaintiffs prevail, it is clear “[t]he monetary

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     This determination of negligence or willfulness is not merely a matter of damages but is an essential element of
  determining liability. See LA. STAT. ANN. § 23:635 (statute “shall not apply” with willful or negligent conduct).
  14
     See also Kabbash v. Jewelry Channel, Inc. USA, No. A-16-CA-212-SS, 2017 WL 2473262, at *8 (W.D. Tex. June
  7, 2017) (monetary damages not incidental where plaintiff seeks actual damages, restitution, disgorgement of profits,
  and punitive damages).

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Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 26 of 32 PageID #:
                                  13531



  tail would be wagging the injunction dog.” Randall v. Rolls-Royce Corp., 637 F.3d 818, 826 (7th

  Cir. 2011). The difficulties with calculating liability or damages for the deductions claims alone,

  as discussed above, is completely untenable.15

           Further, even if Plaintiffs are found to be employees, whether they are entitled to damages

  (and the amount of those damages) would also necessarily depend on several individualized

  factors, including: (1) whether there was a statute of limitations provision in their Distributor

  Agreements; (2) when they gained knowledge of their claims; (3) whether they were “franchisees”

  subject to the Louisiana statute and, if so, the extent of control exercised; (4) whether they signed

  an arbitration agreement; and (5) the extent and type of deductions, all of which may vary by

  distributor. In light of these individualized damage calculations, and without procedural

  protections afforded (b)(3) claims, Rule (b)(2) certification here would violate due process rights

  and is improper as a matter of law.

  B. The R&R Fails to Analyze the Evidence with the Requisite “Heigtened Scrutiny” for
     Decertification and Wholly Ignores Plaintiffs’ Failure to Satisfy Their Burden of Proof.

           When ruling on a motion for decertification, “[i]t is plaintiffs' burden to demonstrate that

  the opt-in plaintiffs are “similarly situated.” Rios v. Classic S. Home Constr., Inc., No. CV 15-

  4104, 2016 WL 2625886, at *4 (E.D. La. May 9, 2016). At decertification, this burden “is much

  more stringent.” Proctor v. Allsups Convenience Stores, Inc., 250 F.R.D. 278, 280 (N.D. Tex.

  2008) (citations omitted). When granting conditional certification, the Magistrate Judge

  acknowledged that the independent contractor inquiry and defenses involve multiple

  individualized inquiries that “should be considered at the decertification stage after discovery has


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     The bulk of Plaintiffs’ requests are the seven forms of monetary relief sought. Only two of Plaintiffs’ requested
  items for relief are injunctive or declaratory in nature: 1) an order for injunctive and declaratory relief “designating
  the [distributors] as employees and enjoining Defendants” from treating them otherwise, and 2) an order declaring
  Defendant’s conduct as “willful.” Both requests are merely mechanisms by which Plaintiffs can obtain monetary
  damages. Rule 23(b)(2) certification is not appropriate where a declaratory judgment “serves only to permit future
  adjudication of damages.” Paternostro v. Choice Hotel Int'l Servs. Corp., 309 F.R.D. 397, 403–04 (E.D. La. 2015).

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Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 27 of 32 PageID #:
                                  13532



  occurred.” (Ct. Doc. No. 136, p. 16).16 Even a cursory review of the R&R, however, makes it clear

  that this was not done. Rather the R&R, again, merely adopts the reasoning of Rehberg when

  finding that the individualized evidence presented by Defendants is not sufficient to warrant

  decertification. (Ct. Doc. No. 339, p. 29 (“The undersigned adopts the rationale of the court in

  Rehberg on this point.”)). The adoption of Rehberg is particularly problematic because, as the Fifth

  Circuit has recognized, “[t]he determination of whether an individual is an employee or

  independent contractor is highly dependent on the particular situation presented.” Thibault, 612

  F.3d at 848 (citing Carrell v. Sunland Constr., Inc., 998 F.2d 330, 334 (5th Cir.1993)). This is

  because actual practice with the plaintiffs is central to this inquiry. Id. See also Brock v. Mr. W

  Fireworks, Inc., 814 F.2d 1042, 1047 (5th Cir. 1987) (“it is not what the [workers] could have

  done that counts, but as a matter of economic reality what they actually do that is dispositive.”)

  (emphasis in original); Dole v. Snell, 875 F.2d 802, 808 (10th Cir. 1989) (same).

          Further, the reasoning of Rehberg on common classification is inconsistent with decisions

  from this Circuit, which the R&R ignores. Kelly v. Healthcare Servs. Grp., Inc., 106 F. Supp. 3d

  808, 813 (E.D. Tex. 2015) (“the decision to uniformly classify all employees as exempt is not, by

  itself, a sufficient justification to proceed as a [collective] action”); Andel v. Patterson-UTI

  Drilling Co., LLC, 280 F.R.D. 287, 290 (S.D. Tex. 2012) (when deciding when plaintiffs are

  similarly situated under the FLSA, “[t]he Court cannot only look to [Defendant's] uniform

  classification of the workers .... Instead, it must determine whether the proof to demonstrate that

  the workers are ‘employees' or ‘independent contractors' can be applied to the class as a whole”);

  Johnson v. Big Lots Stores, Inc., 561 F. Supp. 2d 567, 579 (E.D. La. 2008) (decertifying collective


  16
    This is consistent with the law of this Circuit. Prejean v. O'Brien's Response Mgmt., Inc., No. CIV.A. 12-1045,
  2013 WL 5960674, at *7 (E.D. La. Nov. 6, 2013) (citing Thibault, 612 F.3d at 846) (explaining that courts in this
  Circuit apply the economic realities factors or other individualized analyses at the decertification stage); Andel v.
  Patterson–UTI Drilling Co., 280 F.R.D. 287, 290 (S.D. Tex. 2012) (same).

                                                           22
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 28 of 32 PageID #:
                                  13533



  action when “plaintiffs pitched their case as involving a uniform policy or practice of

  misclassifying [plaintiffs]” and offered actual evidence “through survey responses and witness

  testimony”).17

          Here, even a cursory review of the evidence establishes that decertification is necessary. Plaintiffs’

  deposition testimony shows that actual practice varied significantly with regard to alleged control by

  management, hiring helpers, owning outside businesses, ability to set schedule, and many other factors.

  (See Ct. Doc. No. 310-7). By failing to independently analyze this evidence against the often conclusory,

  unsupported assertions of Plaintiffs to determine whether Plaintiffs are truly “similarly situated” under the

  applicable heightened standard, the R&R allowed Plaintiffs to shirk their substantial burden and improperly

  denied decertification. Rios, 2016 WL 2625886, at *4 ( “[b]ased on the thin record presented to the Court,

  collective adjudication of the claims of the opt-in plaintiffs is not appropriate”). Not only does the R&R not

  hold Plaintiffs to this heightened standard—which they have clearly not met—but it also ignores all the

  evidence offered by Defendants that shows Plaintiffs are not similarly situated. For those reasons, the R&R

  must be rejected.

  C. The R&R Ignores the Significant Due Process Concerns Associated with the
     “Representative Testimony” Offered by the FLSA Plaintiffs.

          Finally, the R&R completely fails to address the fairness and procedural considersations

  associated with collective treatment of Plaintiffs’ claims and Defendants’ defenses given the varied

  record. Rather, the R&R summarily states that “any differences in particular defenses can be

  adequately raised at a trial involving representative testimony,” citing the same extensive string

  cite of cases found in Falcon v. Starbucks Corp. However, the R&R ignores any discussion of

  whether “representative testimony” even exists in this case, let alone can be used, at least without

  significant due process concerns for Defendants. As the Big Lots decision makes clear, given the



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    The Falcon v. Starbucks Corp. case cited is also distinguishable because there, unlike here, there was significant
  evidence of uniformity presented by the opt-ins. 580 F.Supp.2d 528, 536–37 (S.D. Tex. 2008).

                                                          23
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 29 of 32 PageID #:
                                  13534



  varied testimony here, one Plaintiff cannot provide testimony that is “representative” of another

  because for every Plaintiff who provides testimony supporting employee status, Defendants can

  call several others who will say the exact opposite. 561 F. Supp. 2d 567, 574 (E.D. La. 2008)

  (decertifying a collective action because “[t]he diverse responses of opt-in plaintiffs” would result

  in “multiple individual trials on the merits [which] is the antithesis of a collective action.”). Given

  these differences, Defendants “cannot be expected to come up with ‘representative’ proof when

  the plaintiffs cannot reasonably be said to be representative of each other.” Big Lots, 561 F.Supp.2d

  at 586–87.

         For example, a Plaintiff who didn’t even service his territory on a full-time basis for 12

  months—working no overtime—and had three outside businesses grossing between 3 to 4 million

  dollars (Doucet) is simply not representative of a Plaintiff who personally serviced his

  distributorship 50-60 hours a week and was totally dependent on his distributorship income. (Ct.

  Doc. No. 310-1, pp. 28–29). Using either Plaintiff’s testimony as “representative” of all Plaintiffs’

  experiences would be fundamentally unfair, and no reliable inferences can be drawn about all

  Plaintiffs’ experiences from either one.

         Proceeding to a class-wide liability determination with this kind of varied testimony,

  without providing the opportunity to present the individualized evidence both parties already know

  exists to contradict it, would inevitably violate due process rights. Id. While Defendants

  acknoweldge that it may seem “more fair” to allow Plaintiffs to adjudicate their claims together,

  “[t]hose efficiency gains, however, cannot come at the expense of a defendant’s ability to provide

  a statutory defense without raising serious concerns about due process.” Big Lots, 561 F.Supp.2d

  at 587. And, relying on the “remedial nature” of the FLSA to justify continued collective treatment

  flies in the face of Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2131 (2016) (rejecting



                                                    24
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 30 of 32 PageID #:
                                  13535



  cannon that “courts must narrowly construe the FLSA exemptions” because “[t]here is no basis to

  infer that Congress means anything beyond what a statute plainly says simply because the

  legislation in question could be classified as ‘remedial’’”). The Magistrate Judge’s failure to weigh

  the due process considerations seemingly at all is improper as a matter of law.

  IV.    CONCLUSION

         For the reasons set forth above, the R&R must be set aside because it is clear that the

  Magistrate Judge did not comply with her legal obligation to closely analyze the facts and law in

  this case within the lens of the applicable legal tests to determine whether class and collective

  treatment is appropriate. Neither a common classification decision nor a non-binding decision

  involving different facts excuses this obligation. Because failure to conduct this analysis

  constitutes reversible error, Defendants’ Objections should be granted.

                                        RESPECTFULLY SUBMITTED

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Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 31 of 32 PageID #:
                                  13536



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                                        26
Case 6:15-cv-02557-SMH-CBW Document 342-1 Filed 08/27/18 Page 32 of 32 PageID #:
                                  13537



                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing has been filed via the Court’s Electronic Case

  Filing System, which provides for service on all counsel of record.

         This 27th day of August, 2018.

                                       /s/ Andrew J. Halverson
                                       ANDREW J. HALVERSON


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                                                 27
